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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                )
                                        )    Crim. No. 18-10205-DJC
          v.                            )
                                        )    Leave to file granted
SHUREN QIN,                             )    on August 16, 2018
                                        )
          Defendant.                    )


     GOVERNMENT’S AMENDED MOTION TO DISQUALIFY HANBIN WANG
 AS COUNSEL FOR THE DEFENDANT BASED UPON A CONFLICT OF INTEREST

     The United States moves this Court to disqualify attorney

Hanbin Wang (“Wang”) from continuing to represent the defendant

Shuren Qin (“QIN”) in this matter.       When undersigned counsel

assented to Wang’s Pro Hac Vice motion, it was unaware that Wang

has been representing the Chinese government in connection with

its effort to “repatriate” fugitives living in the United States

and recover any illicit assets since at least May 2016.          QIN is

currently charged with illegally exporting U.S. origin goods

with anti-submarine warfare applications to a prohibited end-

user, Northwestern Polytechnical University, an entity that

works for the government of the People’s Republic of China

(“PRC”) in advancing the People’s Liberation Army (“PLA”) Navy.

Indeed, as Special Agent Jon Bentsen of DHS’s Homeland Security

Investigations testified at the detention hearing, QIN has

communicated with multiple entities affiliated with the PLA,


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including the PLA University of Science and Technology, which is

a “key university that helps develop and modernize China

military technology.”         See Jul. 3, 2018 Tr. at 14-15. QIN has

received financial payments from entities affiliated with the

PLA.       Id. at 16. Further, QIN identified the “China Navy” as one

of his customers on the website of LINKOCEAN TECHNOLOGIES, LTD.

(“LINKOCEAN”).        Id. at 17-18.

       In addition, since QIN was indicted on June 26, 2018, the

government has uncovered additional evidence on QIN’s electronic

devices that demonstrate: (1) QIN was tasked with procuring

numerous items for the PLA from the United States, Canada, and

Europe; (2) QIN obtained goods for the PRC with applications in

underwater and marine-related technologies as directed by the

PLA; and (3) QIN was paid hundreds of thousands of dollars by

the PRC government.         Because QIN’s procurement activities were

directed by the PLA, occurred while QIN was living in the United

States, and QIN never provided notification to the U.S. Attorney

General that he was working as an agent of the PRC, his actions

violated 18 U.S.C. § 951. 1         Accordingly, Wang’s representation of

both the PRC government and QIN appears to pose an actual or

potential conflict of interest.              Therefore, this Court should


       1
      The government has advised QIN, through his non-conflicted
counsel, that it intends to supersede and bring additional charges in
the next 1-2 months.
                                         2
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disqualify Attorney Wang from continuing to represent QIN in

this matter. 2

     I.      Statement of Facts

     Wang is a Chinese born U.S. citizen who moved to the United

States in 1996 to attend law school. 3         He opened an office in New

York in or about 2000.       Beginning in or about February 24, 2016,

Wang began providing legal advice to the PRC through the

Consulate General of People’s Republic of China in New York.

Wang has entered contracts with the Consulate General of the

People’s Republic of China in New York detailing the legal

arrangement between himself and the PRC.           See Exhibits 1-3.

These contracts were obtained from DOJ’s National Security

Division, Foreign Agents Registration Act (“FARA”) Unit with

whom Wang had filed copies of these contracts. 4           According to

these contracts, Wang has provided legal service to the PRC “in

connection with Chinese government’s effort to repatriate

economic fugitives and recover related illicit assets in the

United States.”      See, e.g., Ex. 3 at 1.       According to these



     2
       Through this motion, the Government is only seeking to
disqualify Attorney Wang. The government has no concerns with QIN’s
other counsel, Attorneys William Kettlewell and Sara Silva.
     3
       Wang became a naturalized U.S. citizen in January 2000.
     4
       In addition to these contracts, Wang submitted correspondence to
DOJ asserting that his legal services to the PRC did not create a
registration requirement because he would not be involved in any
political lobbying activities.
                                       3
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contracts, Wang’s legal services to the PRC has specifically

included:

  •   Providing legal advice on U.S. law as it relates to
      repatriating former Chinese government officials who are
      wanted on criminal corruption charges in China and who are
      physically inside United States;

  •   Providing legal advice about recovering illicit assets of
      Chinese citizens currently located in the United States who
      are wanted on criminal corruption charges in China;

  •   Providing legal advice on communications between Chinese
      and U.S. government officials regarding the repatriation of
      Chinese citizens located in the United States;

  •   Monitoring and reporting on public available information on
      the target of repatriation and any related cases in the
      federal or state courts or immigration proceedings; and

  •   Providing briefings to representatives of Chinese
      government agencies.

      Over the last few years, the PRC’s effort to repatriate its

citizens -- the program that Wang has assisted -- has been

scrutinized by the media.      Some commentators have even referred

to the PRC’s repatriation activities as a “global kidnapping

campaign.” See Zach Dorfman, The Disappeared: China’s global

kidnapping campaign has gone on for years. It may now be

reaching inside U.S. borders, Foreign Policy, Mar. 29, 2018,

available at https://foreignpolicy.com/2018/03/29/the-

disappeared-china-renditions-kidnapping/.         Similarly, The Wall




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Street Journal reported in 2017 that:

     Since 2014, China has escalated its global efforts to
     capture Chinese fugitives accused of corruption,
     including those who fled to the U.S. The initiative,
     dubbed ‘Operation Fox Hunt,’ often involves pressuring
     relatives in China, confiscating the target’s assets
     and sending agents to deliver personal threats.


See Kate O’Keeffe et al., China’s Pursuit of Fugitive

Businessman Guo Wengui Kicks Off Manhattan Caper Worthy of Spy

Thriller, WSJ, Oct. 22, 2017, available at

https://www.wsj.com/articles/chinas-hunt-for-guo-wengui-a-

fugitive-businessmen-kicks-off-manhattan-caper-worthy-of-spy-

thriller-1508717977.

     On June 26, 2018, QIN was charged with conspiring to

illegally export U.S. origin goods to the PRC, in violation of

50 U.S.C. § 1705.    To date, the investigators have found

evidence that since 2012, QIN has engaged in numerous violations

of U.S. export laws and engaged in visa fraud.         The

investigators and analysts are continuing to review and

translate the electronic data obtained from the search warrants

executed in this case.

     Most recently, the investigators have uncovered documents

that demonstrate that QIN was directed by the PLA to procure

parts from the United States, Canada, and Europe for underwater

and marine related applications.        QIN provided these services to

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the PLA (and related entities) and the PRC government paid QIN

hundreds of thousands of dollars.       Although QIN was living in

the United States when he performed these services and acted as

an agent of the PRC, he never notified the U.S. Attorney

General.    18 U.S.C. § 951 makes it illegal to act in the United

States as an agent of a foreign government without prior

notification to the Attorney General.

     On July 2, 2018, Wang moved for leave to appear Pro Hac

Vice on behalf of the defendant. This Court granted this motion.

Wang then appeared and participated at the detention hearing

held on July 3, 2018.    After the detention hearing, Wang

traveled to China on July 7, 2018 and remained there until July

22, 2018.   The government is not privy to any information

regarding the purpose of Wang’s trip to China.         The timing

though appears to suggest that Wang may have conducted work in

China related to his representation of QIN and his pre-existing

relationship to the PRC government.       While in China, Wang may

have received instructions from his other client – the Chinese

government – or been debriefed by PLA representatives about

QIN’s criminal case.    At a minimum, Wang’s attorney-client

relationship with the PRC government, his work for the PRC

government related to repatriation activities and assistance in

efforts to coerce fugitives to return to the PRC, and his

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representation of QIN appear to at least create a potential

conflict of interest, if not, an actual one.

     II.   Legal Argument

     The Sixth Amendment’s right to assistance of counsel “does

not confer an absolute right to a particular counsel.”          United

States v. Diaz-Martinez, 71 F.3d 946, 949 (1st Cir. 1995)(quoting

United States v. Poulack, 556 F.2d 83, 86 (1st Cir. 1977)); see

Wheat v. United States, 486 U.S. 153, 158-59 (1988) (“[T]he

essential aim of the [Sixth] Amendment is to guarantee an

effective advocate for each criminal defendant rather than to

ensure that a defendant will inexorably be represented by the

lawyer whom he prefers.”).     The First Circuit has made clear

that an accused’s right to choose his own counsel cannot be used

to manipulate “the orderly procedure in the courts or to

interfere with the fair administration of justice.”          United

States v. Cortellesso, 663 F.2d 361, 363 (1st Cir. 1981) (quoting

United States v. Bentvena, 319 F.2d 916, 936 (2d Cir. 1963); see

also Poulack, 556 F.2d at 86 (concluding “the right of an

accused to choose his own counsel cannot be insisted upon in a

manner that will obstruct reasonable and orderly court

procedure.”).   Although disqualification of counsel is generally

a measure of last resort, courts can disqualify a defendant’s

attorney even “over that defendant’s objection where it finds

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either an actual conflict [of interest] or a serious potential

conflict.”    United States v. Lanoue, 137 F.3d 656, 663 (1998)

(citing In re Grand Jury Proceedings, 859 F.2d 1021, 1023-24 (1st

Cir. 1988).   Here, Wang’s representation of QIN creates an

actual conflict of interest or, at a minimum, a serious

potential conflict of interest.

     Wang’s duty of loyalty to his pre-existing client, the PRC

government, which he has represented for several years,

conflicts with his duty to zealously represent QIN.          QIN is

entitled to conflict free representation.        Because of Wang’s

representation of the PRC government, he may discourage QIN from

pursuing any defense that tends to portray the Chinese

government or military in a negative light or reveals any

information about how the Chinese military operates or procures

goods from abroad.

     Wang’s pre-existing relationship with the PRC government

also creates a serious potential conflict of interest.          Wang was

born in China and has acknowledged in his signed contracts with

the PRC government that he considers it “a privilege” to serve

his country of birth as its legal advisor regarding its

repatriation activities.     Wang has been on the PRC government’s




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payroll since at least 2016. 5       Accordingly, Wang also has a

financial incentive to follow the PRC’s government instructions

with regards to QIN.       Wang’s representation of the PRC may

therefore significantly affect the advice he gives to QIN.                For

instance, Wang might advise QIN against cooperating with the

U.S. government because QIN would likely be asked to reveal

information about, or explain, the PLA’s procurement activities.

This information could be detrimental to the PRC government,

Wang’s other client.       Thus, Wang’s representation of QIN would

be adversely affected by Wang’s duties to the PRC government.

     Although a defendant can ordinarily waive a potential

conflict of interest, the Court should refuse to accept such a

waiver here. Courts have “substantial latitude” in refusing

waivers.     See In re Grand Jury Proceedings, 859 F.2d at 1023-24.

Wang’s continued representation of QIN would “disproportionately

disadvantage the government [and] interfere with the ethical and

orderly administration of justice.”          See Cortellesso, 663 F.2d

at 363.



     5
      The government currently has no information as to how Wang
became involved in this matter. It also does not know whether the PRC
government is paying for Wang’s representation of QIN in this matter.
Because Wang has never practiced in Massachusetts and has worked for
the Chinese Consulate since 2016, it is likely that the PRC government
is paying for Wang to represent QIN. If the PRC government is indeed
paying Wang to represent QIN, the likelihood of an actual conflict of
interest would be greatly increased.
                                       9
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                              CONCLUSION

     WHEREFORE, the government respectfully requests that the

Court disqualify Hangbin Wang from continuing to represent QIN

in this matter because of an actual and serious potential

conflict of interest arising from his representation of the PRC

government.



        Certification of Local Rule 7.1(a)(2) Compliance

     Pursuant to L.R. 7.1(a)(2), the government unsuccessfully

attempted to confer in good faith with the defense prior to

filing this motion.

                                Respectfully submitted,


                                ANDREW E. LELLING
                                United States Attorney

                           By: /s/ B. Stephanie Siegmann
                               B. STEPHANIE SIEGMANN
                               Assistant U.S. Attorney


                      CERTIFICATE OF SERVICE
     I hereby certify that this document was filed on August 16,
2018, through the ECF system, which will provide electronic
notice to counsel as identified on the Notice of Electronic
Filing.

                                 /s/ B. Stephanie Siegmann
                                 B. Stephanie Siegmann

Date: August 16, 2018


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